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                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Alexandria Division


UNITED STATES OF AMERICA,                     )
                                              )      No. 1:19-cr-59
      v.                                      )
                                              )      Hon. Liam O’Grady
DANIEL EVERETTE HALE,                         )
                                              )
                    Defendant.                )      Trial: Dec. 1, 2020


                     MOTION TO CONTINUE TRIAL DATE

      COMES NOW the defendant, Daniel Hale, through counsel, and moves this

Honorable Court for a relatively brief continuance of the trial in this matter for the

reasons set forth below. The defense believes it can be prepared for trial in early

February or thereafter. In support of this Motion, defendant states as follows:

      1.     A jury trial of this matter is currently scheduled to begin on December

1, 2020, less than a month from now.

      2.     The parties were last before this Court for a CIPA hearing on October

13, 2020. That date is significant for two pertinent reason: First, during that hearing

the government announced for the first time that it would have new discovery highly

relevant to the defense that would have to be produced in a classified setting. The

government made that production on October 23 and 26, 2020. On October 27, the

government made an additional classified production. The defense is in the process

of reviewing these additional productions. Second, after the October 13, 2020, CIPA

hearing, as he was returning from work, Mr. Hale’s motorcycle was hit by a car. Mr.
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Hale suffered a broken ankle as well as numerous other injuries. His motorcycle,

which is his principal mode of transportation, was totaled. Mr. Hale’s ankle required

surgery, which was performed on October 30, 2020. He expects to be on crutches and

then in a supportive boot for weeks. He also may need a regular course of physical

therapy. Between the physical limitations and the damage to his motorcycle, Mr.

Hale’s ability to get around has been seriously impeded by this unfortunate accident.

The defense has concerns about his ability to reliably and safely travel to court for a

trial in just a few weeks, as well as whether he would be able to engage in physical

therapy as needed if the trial goes forward on schedule. Further, Mr. Hale has been

prescribed opiate pain medication that, since October 14, has impacted his ability to

focus on the very serious issues a defendant he must confront in this particularly

fraught period in his case.

        3.    As well, the additional discovery produced at the eleventh hour has

created a significant hurdle to the defense’s preparation. 1      First, the additional

discovery goes to the heart of one of the defenses counsel were exploring. While this

was almost certainly the government’s aim, it is unclear why the government waited

until a month before trial to turn this material over when the case has been under

investigation for six years. Nevertheless, it is a substantial amount of new material

counsel must review themselves and discuss with Mr. Hale so that he can make




1 It is unheard of, in counsel’s experience, for classified discovery to be produced
after CIPA Sections 5 and 6 proceedings have occurred.

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informed decisions about this case. 2 Second, to the extent that counsel must now

turn to reviewing this new discovery, it takes attention away from the other

numerous tasks that must be accomplished to prepare for a jury trial.

        4.    Further, the defense also must prepare for trial in light of the Court’s

ruling on the government’s CIPA § 6 motion, which appears to have foreclosed the

use of any of the classified information identified in the defense’s CIPA § 5 notice.

However, although the Court’s order has issued, the opinion underlying the Court’s

order has not; as a result, the defense is unaware of the reason for the Court’s rulings.

Cf. CIPA (18 U.S.C. App. III) § 6(a) (“[a]s to each item of classified information, the

court shall set forth in writing the basis for its determination.”) Because those rulings

are based on relevance – the reasoning for which would apply equally to unclassified

evidence the defense may seek to adduce at trial – counsel at this time has no way of

knowing how the Court’s rulings may foreclose certain defenses it intends to pursue,

or unclassified evidence it intends to use.




2 The government’s late-coming productions likely resulted from the defense’s CIPA-
required disclosure of the details of its trial strategy in response to the government’s
motion under CIPA § 6. But those defense disclosures relied on plainly relevant data
and print jobs produced by the government more than a year ago—and likely known
to the government for longer still. However long it had been aware of that
information, the government appears not to have sought out the additional discovery
until mid-October 2020. This lackadaisical approach to uncovering facts relevant to
the heart of the case does not inspire confidence that the government has diligently
gathered and brought forward evidence favorable for the defense, as, of course, it
must under Brady v. Maryland, 373 U.S. 83 (1963), and related case law. See also
Due Process Protections Act, Pub. L. N. 116-182, 234 Stat. 894 (Oct. 21, 2020)
(amendment Federal Rule of Criminal Procedure 5 to incorporate reminder of
government’s Brady obligations into proceedings on first appearance of criminal
defendant).

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        5.    Finally, and perhaps most importantly, the country is in the throes of

the most significant increase in coronavirus cases since the pandemic’s onset more

than eight months ago. Nationwide new cases are nearing – and expected to top

100,000 – per day in the coming weeks. Indeed, the past week saw a new record in

coronavirus diagnoses nationwide, topping the previous weekly record by more than

10 percent. 3 Although there have been some encouraging advances in how the virus

is treated, it is no less virulent or more preventable now than when the pandemic

began. Indeed, the nation saw over 1,500 deaths in a single day this week for the

first time in nearly six months. 4 Its threat to the orderly course of Mr. Hale’s trial

cannot be understated. First, it is a considerable safety risk for all involved, including

the Court, staff, jurors, attorneys, and witnesses. Some of us may be generally

healthy, but plenty of others who will be involved in this trial may suffer from

underlying conditions – or live with those who do – that could pose a very real threat

to their health or life, or that of a loved one, if they contract the virus. In a situation

where the virus was receding and new cases were dwindling, measures might be put

in place to effectively contain or curtail contagion over the course of a week or more

in close quarters. But the virus is not receding. Rather, it is gaining strength. The



3 See https://coronavirus.jhu.edu/region/united-states (as of November 5, 2020, over
629,000 cases have been diagnosed in the United States, topping the previous
record of 569,350 in a single week).
4 See https://www.washingtonpost.com/graphics/2020/national/coronavirus-us-
cases-deaths/?itid=sf_coronavirus_subnav (showing 1,528 deaths on November 3,
more than any date since May 14, with the exception of two outlier days in between
when there were isolated spikes in reported deaths due to changes to reporting
methodology on those dates).
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United States is in the middle of by far the most widespread outbreak yet – although

case spiked in April and again in late July/August, those numbers pale compared to

the recent upturn. 5 The impact of a coronavirus infection during the course of Mr.

Hale’s trial would be enormous. Even the possibility of an infection could force the

suspension of proceedings while the positive case or symptomatic individual recovers

or is cleared to return to the courtroom. The length of such a suspension could be

days or even weeks, depending on the nature of the suspected case and the parties’

schedules.

        6.    Second, it is not merely those present in the courtroom who could cause

disruption to the trial. Many of those involved have children who are attending school

remotely, straining parental resources. Others may have children in school who, if

they contract symptoms that could be indicative of coronavirus, would suddenly have

to be kept home for a lengthy period without parental resources to accommodate such

a disruption. But further, if the family member of any person involved in a trial

begins to show symptoms linked to the coronavirus or is exposed to a known positive



5At their peak (prior to the instant increase in cases), new cases reported daily
nationwide reached the 30,000s in April and the 70,000s in late July, as compared to
nearly 100,000 per day now. See NY Times, Covid in the U.S.: Latest Map and Case
Count      (as     of     Nov.      4,      2020),     available       online     at
<nytimes.com/interactive/2020/us/coronavirus-us-cases.html> (“NY Times Covid
website”).
       Moreover, the recent uptick is not solely or even primarily the result of better
detection, because both the hospitalization rate and death rate are increasing almost
as    dramatically    as    the   increase     in    the   infection   rate.       See
https://www.washingtonpost.com/graphics/2020/national/coronavirus-us-cases-
deaths/?itid=sf_coronavirus_subnav (while new cases rose 17 percent in the past
week, deaths and hospitalizations each rose nearly 15 percent).

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case, it is highly likely that that the trial would have to cease while the person’s Covid

status is determined.

      7.     The government has estimated that Mr. Hale’s trial could last two

weeks. The risk of such an exposure occurring during a two week trial involving

dozens of individuals during the midst of the nation’s largest coronavirus outbreak

yet is substantial, and dramatically greater than the risk that would occur in a short,

one- or two-day trial. And the disruptive effect will be magnified by the complexity

involved in a trial dealing with classified information, in which hard-copy binders of

classified exhibits will likely have to be repeatedly handed to, and collected from,

jurors, witnesses and court staff.

      8.     Such risks, however, are unnecessary in this case.             There is no

particularized need to go to trial on December 1. The government investigated this

case for five years before bringing an indictment, underscoring a lack of urgency. The

case itself has been ongoing for more than year, and if the government was concerned

about speed, it should not have waited until one month before trial to dump a

significant and highly relevant set of classified productions on the defense. And, Mr.

Hale, who is out of custody and subject to pretrial supervision, has waived and is

further willing to waive his speedy trial rights. To the extent the government would

like to contend that the public also has a right to a speedy trial, the defense submits

that the public’s right to access the trial would be better served by waiting until the

current Covid outbreak has subsided rather than forcing those who wish to attend to

jeopardize their health.



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        9.    Third, the current Covid outbreak will adversely affect Mr. Hale’s Sixth

Amendment right to an impartial jury representing a fair cross-section of the

community. The pandemic has impacted courts’ ability to convene a representative

cross-section of the community, and more broadly to conduct criminal jury trial

proceedings. 6 In June, Chief Judge Davis emphasized the need for a jury that is

“selected from a fair cross-section of the community,” and noted “the reality that

many individuals, including those in communities disproportionately impacted by the

COVID-19 pandemic, do not have child care, to include morning care or afternoon

care, while school is not in session in Virginia. Furthermore, the COVID-19 pandemic

has rendered many grandparents or other family members/friends with medical

conditions unable to safely assist with child care so that a summonsed parent can

appear in this Court[.]” 7 At the time the Chief Judge issued these general orders, the


6 See e.g., United States v. Young, No. 19-cr-00496-CMA, 2020 WL 3963715 (D. Colo.
July 13, 2020) (ordering a 60-day continuance in part because “the Court would be
obligated to candidly inform potential jurors of the danger associated with their
service. As a consequence, it is highly likely that, even if a jury is eventually selected,
it would not reflect an adequate cross-section of society because any individual who
is at a heightened risk of harm from the virus—or anyone who might live with or
frequently associate with such a person—would likely be excused for cause.”)
(collecting cases where courts granted continuances due to COVID-19 under 18
U.S.C. § 3161(h)(7)(A)); Melanie D. Wilson, The Pandemic Juror, 77 WASH. & LEE L.
REV. ONLINE 65, 82-83 (2020) (“Given that the virus is harming people of color in
disproportionate numbers … resuming jury trials during the pandemic may
exacerbate racial disparities in jury pools and create trial juries that do not otherwise
represent             the             community.”),                available             at
<https://scholarlycommons.law.wlu.edu/wlulr-online/vol77/iss1/6>.
7 See General Order No. 2020-19 (June 30, 2020) at 13-16, 20-21; Gen. Order No.
2020-02 at 3-4 (Mar. 13, 2020) (noting “the Court’s anticipated reduced ability to
obtain an adequate spectrum of jurors”). See also Nat’l Assoc. of Criminal Defense
Lawyers, Criminal Court Reopening and Public Health in the COVID-19 Era at 8
(June 2020) (“courts cannot ensure that juries reflect a fair cross section of the
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7-day average of cases in Virginia was increasing to a high of 1,195 infections per day

in late May before trending back down. 8 The 7-day moving average now is 1,324, as

of November 3, and increasing. 9 Moreover, matters will only deteriorate with the

onset of flu season. 10

         10.   The defense has discussed continuing the trial date with counsel for the

government, who would agree to a one-week continuance but oppose anything

further. Government counsel report that scheduling conflicts would render them

unavailable until March 2021. Government counsel’s chief objection appears to be

that the case has been going on long enough. The defense agrees; Mr. Hale certainly

would like to be done with this. But speed should not trump Mr. Hale’s right to

effectively-prepared counsel and to an impartial jury. Nor should it trump the health

and safety of all involved. Nor, of course, did the government’s desire for speed cause

it to move the case any faster during the four-plus years between the time it finished

investigating the case and when it finally brought charges.




community given varying rates of infection, mortality, and fear in subsets of our
society defined by race, socio-economic status, and perhaps even political affiliation”),
available       at        <https://nacdl.org/getattachment/56802001-1bb9-4edd-814d-
c8d5c41346f3/criminal-court-reopening-and-public-health-in-the-covid-19-era.pdf>.
8 NY Times Covid website, Virginia Covid Map and Case Count, available at
<https://www.nytimes.com/interactive/2020/us/virginia-coronavirus-cases.html>.
9   See id.
10See Marla Broadfoot, Coronavirus and the Flu: A Looming Double Threat, Scientific
American           (Sept.         6,           2020),         available         at
<https://www.scientificamerican.com/article/coronavirus-and-the-flu-a-looming-
double-threat/>.

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      11.    A continuance to early February or thereafter would allow the defense

to prepare effectively and give Mr. Hale time to heal to a point where he is sufficiently

physically recovered, more mobile and less affected by his medication. It is true,

however, that the risks posed by COVID-19 may not recede as predictably. This fact

could counsel for a slightly longer delay, but the defense is not seeking such a delay.

                                               Respectfully Submitted,

                                               DANIEL EVERETTE HALE
                                               By Counsel,

                                               Geremy C. Kamens
                                               Federal Public Defender


                                                     /s/
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                            CERTIFICATE OF SERVICE

      I hereby certify that on November 5, 2020, I filed the foregoing via the CM/ECF
system, which will electronically serve a copy upon all counsel of record.




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